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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                            DUBLIN DIVISION

TERESA POPE HOOKS, individually              )
and ESTATE OF DAVID HOOKS,                   )
by Teresa Pope Hooks, Administratrix         )
                                             )
             Plaintiffs,                     )      CIVIL ACTION FILE NO.:
                                             )      3:16-CV-00023-DHB-BKE
v.                                           )
                                             )
CHRISTOPHER BREWER,                          )
In his individual capacity                   )
                                             )
             Defendant.                      )
                           MOTION FOR LEAVE OF ABSENCE

      COMES NOW TIMOTHY J. BUCKLEY III, and requests the Court grant

him a leave of absence from this Court for the following periods: February 14 – 22,

2022 and April 8 – 11, 2022.

      Counsel shows to the Court that during the periods of time set forth, he will

be out of the State for family vacations. No proceedings are set in this action which

require his appearance during these periods of time.

      WHEREFORE, Timothy J. Buckley III respectfully requests his Motion for

Leave of Absence be granted and that no proceedings be scheduled or held in the

above-styled matter during the periods set forth above.


      Respectfully submitted this 3rd day of November, 2021.
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                                  BUCKLEY CHRISTOPHER, P.C.

                                  /s/ Timothy J. Buckley III
                                  __________________________
                                  TIMOTHY J. BUCKLEY III
2970 Clairmont Road, N.E.         Georgia State Bar No. 092913
Suite 650                         Attorney for Defendants
Atlanta, GA 30329
 (404) 633-9230
(404) 633-9640 (facsimile)
tbuckley@bchlawpc.com




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                         CERTIFICATE OF SERVICE

      I hereby certify that on November 3, 2021, I served all counsel of record with

MOTION FOR LEAVE OF ABSENCE by filing electronically through the Pacer

CM/ECF System which will automatically send notification of such filing to the

following attorneys of record:

                             Mitchell M. Shook, Esq.
                                 P. O. Drawer P
                                470 Randolph Dr.
                             Vidalia, GA 30474-8929

                                Brian Spears, Esq.
                             1126 Ponce de Leon Ave.
                                Atlanta, GA 30306

                                      Respectfully submitted,

                                      BUCKLEY CHRISTOPHER, P.C.

                                      /s/ Timothy J. Buckley III
                                      _________________________
                                      TIMOTHY J. BUCKLEY III
                                      Georgia State Bar No.092913
                                      Attorney for Defendants

2970 Clairmont Road N.E.
Suite 650
Atlanta, Georgia 30329
(404) 633-9230
(404) 633-9640 (facsimile)
tbuckley@bchlawpc.com




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